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                            COMMONWEALTH OF KENTUCKY




                                                                                                13D61F6C-240C-423C-A5C1-105E5A8CFD85 : 000001 of 000002
                              FRANKLIN CIRCUIT COURT
                                     DIVISION II
                             CIVIL ACTION NO. 18-CI-00056

COMMONWEALTH OF KENTUCKY, ex rel.                                                  PLAINTIFF
ANDY BESHEAR, ATTORNEY GENERAL

v.                                      AGREED ORDER

MCKESSON CORPORATION                                                             DEFENDANT

                                    ____________________
       Upon joint motion by plaintiff, Commonwealth of Kentucky, ex rel. Andy Beshear,

Attorney General, by counsel, and defendant, McKesson Corporation, by counsel, and the Court

being otherwise sufficiently advised;

       IT IS HEREBY ORDERED THAT the deadline for McKesson Corporation to answer

or otherwise respond to the allegations in the Complaint is hereby extended by 30 days to and

including March 15, 2018.




                                                    JUDGE


                                                    DATE
Case: 3:18-cv-00010-GFVT Doc #: 1-2 Filed: 02/23/18 Page: 47 of 49 - Page ID#: 65



 SEEN AND AGREED TO BY:




                                                                                    13D61F6C-240C-423C-A5C1-105E5A8CFD85 : 000002 of 000002
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